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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—
                                    GENERAL

  Case No.      2:20-cv-10341-SSS-JPRx                        Date July 14, 2022
  Title Destini Kanan v. Thinx, Inc.


  Present: The Honorable      SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


                Irene Vazquez                                  Not Reported
                 Deputy Clerk                                 Court Reporter

     Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
                 None Present                                  None Present

  Proceedings: ORDER DENYING STIPULATION OF VOLUNTARY
               DISMISSAL [ECF NO. 71] (IN CHAMBERS)

      Before the Court is Plaintiffs Haleh Allahverdi and Haley Burgess and
 Defendant Thinx Inc.’s stipulation of voluntary dismissal (ECF No. 71).

        In the Ninth Circuit, when reviewing a class action pre-certification
 dismissal or compromise, “[t]he district court must ensure that the representative
 plaintiff fulfills his fiduciary duty toward the absent class members, and therefore
 must inquire into the terms and circumstances of any dismissal or compromise to
 ensure that it is not collusive or prejudicial.” Diaz v. Tr. Territory of Pac. Islands,
 876 F.2d 1401, 1408 (9th Cir. 1989). Specifically, “the district court should inquire
 into possible prejudice from (1) class members’ possible reliance on the filing of the
 action if they are likely to know of it either because of publicity or other
 circumstances, (2) lack of adequate time for class members to file other actions,
 because of a rapidly approaching statute of limitations, (3) any settlement or
 concession of class interests made by the class representative or counsel in order to
 further their own interests.” Id.

       Under Federal Rule of Civil Procedure 23(e)(1)(A), “[t]he parties must
 provide the court with information sufficient to enable it to determine whether to
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 give notice of the proposal to the class.” Notice of pre-certification dismissal has
 three purposes: it (1) “protects a defendant by preventing a plaintiff from
 appending class allegations to her complaint in order to extract a more favorable
 settlement,” (2) “protects the class from objectionable structural relief, trade-offs
 between compensatory and structural relief, or depletion of limited funds available
 to pay the class claims,” and (3) “protects the class from prejudice it would
 otherwise suffer if class members have refrained from filing suit because of
 knowledge of the pending class action.” Diaz, 876 F.2d at 1409–10 (emphasis in
 original).

        The parties have not provided the Court with any information regarding the
 terms and circumstances of the stipulated dismissal. Based on the Diaz factors
 outlined above, the parties are directed to provide information sufficient for the
 Court to determine whether dismissal of the case is collusive or prejudicial to the
 putative class and whether notice to all members of the putative class is required.
 The information should also include the terms, form, and value of any settlement
 or consideration being paid for the dismissal, and a fully executed copy of any
 settlement agreement.

        For the reasons outlined above, the Court hereby DENIES the parties’
 stipulation of voluntary dismissal without prejudice.

        IT IS SO ORDERED.




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